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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

131-
UNITED STATES OF AMERICA, SA CR No. 1 9 C R 0 0 1 ° “

Plaintiff, INFORMATION

Vv. [18 U.S.C. § 641: Theft of
Government Property]
DARINA SKY WILLIAMS,

[CLASS A MISDEMEANOR]
Defendant.

 

 

The United States Attorney charges:

[18 U.S.C. § 641]
On or about July 31, 2014, in Orange County, within the Central
District of California, defendant DARINA SKY WILLIAMS knowingly and
willfully stole, purloined, and converted to her own use money of the
United States Social Security Administration (the “SSA”), a
department and agency of the United States, namely, Survivor

Insurance Benefits intended for her mother, S.W., in the

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amount of $250, to which defendant WILLIAMS knew that she was not

entitled, with the intent to deprive the SSA of the use and benefit

of that money.

NICOLA T. HANNA
United States Attorney

BRANDON D. FOX
Assistant United States Attorney
Chief, Criminal Division

SG

SCOTT M. GARRINGER
Assistant United States Attorney
Deputy Chief, Criminal Division

CHRISTINA T. SHAY

Assistant United States Attorney
Deputy Chief, General Crimes
Section

DAVID H. CHAO

Special Assistant United States
Attorney

General Crimes Section

 

 
